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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD,                                   )
                                                 )
BLOOMBERG L.P.,                                  )
731 Lexington Ave                                )
New York, NY 10022                               )
                                                 )
v.                                               )
                                                 )
FEDERAL BUREAU OF                                )
INVESTIGATION,                                   )
935 Pennsylvania Avenue, NW                      )
Washington, D.C. 20535                           )
                                                 )
U.S. DEPARTMENT OF JUSTICE,                      )
950 Pennsylvania Avenue, NW                      )
Washington, D.C. 20530                           )
                                                 )
                                                 )
Defendants.                                      )

                                           COMPLAINT

       1.      Plaintiffs JASON LEOPOLD and BLOOMBERG L.P. bring this suit to force

Defendant FEDERAL BUREAU OF INVESTIGATION to produce records from the investigation

into President Biden’s handling of classified records.

                                             PARTIES

       2.      Plaintiff JASON LEOPOLD is an investigative reporter at Bloomberg News and is

one of the FOIA requesters in this case.

       3.      Plaintiff BLOOMBERG L.P. is the owner and operator of Bloomberg News.

Bloomberg’s newsroom of more than 2,700 journalists and analysts delivers thousands of stories

a day, producing content that is featured across multiple platforms, including digital, TV, radio,
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streaming video, print, and live events. BLOOMBERG L.P. is one of the FOIA requesters in this

case.

        4.       Defendant FEDERAL BUREAU OF INVESTIGATION is a federal agency and is

subject to the Freedom of Information Act, 5 U.S.C. § 552.

        5.       Defendant U.S. DEPARTMENT OF JUSTICE is a federal agency and is subject to

the Freedom of Information Act, 5 U.S.C. § 552. DOJ is the parent agency of FBI.

                                   JURISDICTION AND VENUE

        6.       This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

        7.       Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                          FEBRUARY 8, 2024 FOIA REQUEST TO FBI

        8.       On February 8, 2024, Plaintiffs submitted the following FOIA request to FBI for

records from the investigation into President Biden’s handling of classified records:

              1. A copy of the FBI's investigative case file (including opening and closing
              memorandum) referencing the FBI search of President Joe Biden's
              residence and think tank where classified records were found and retrieved.

              2. All FD-302s or other transcripts or summaries of interviews (handwritten
              and typed) FBI agents conducted with individuals as part of Special Counsel
              Robert Hur's investigation of President Biden's handling of classified
              records found at his residence and think tank.

              3. Letters, memos, reports, emails documenting the FBI's formal requests
              for a classification review from other executive branch/federal government
              agencies related to the classified documents retrieved from President
              Biden's residence and think tank and the final responses the agencies sent
              to FBI.

        9.       Plaintiffs’ request sought expedited processing based on the urgency to inform the

public regarding the investigation, which has been the subject of significant scrutiny.

        10.      A true and correct copy of the request is attached as Exhibit 1.

        11.      On February 8, 2024, FBI acknowledged receipt of the request.

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        12.     A true and correct copy of the acknowledgement email is attached as Exhibit 2.

        13.     FBI did not send any further correspondence to Plaintiffs regarding this request.

        14.     As of the date of this filing, FBI has not issued a determination, has not expedited

the processing of Plaintiffs’ request, and has not produced any records.

                             COUNT I – FBI’S FOIA VIOLATION

        15.     The above paragraphs are incorporated by reference.

        16.     Plaintiffs’ FOIA request seeks the disclosure of agency records and was properly

made.

        17.     Defendant FBI is a federal agency subject to FOIA.

        18.     Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        19.     Defendant FBI has failed to grant expedited processing to the request.

        20.     Defendant FBI has failed to conduct a reasonable search for records responsive to

the request.

        21.     Defendant FBI has failed to issue a determination within the statutory deadline.

        22.     Defendant FBI has failed to produce all non-exempt records responsive to the request

as soon as practicable.

WHEREFORE, Plaintiffs asks the Court to:

        i.      declare that Defendants have violated FOIA;

       ii.     order Defendants to expedite the processing of Plaintiffs’ request, conduct a
reasonable search for records, and produce the requested records as soon as practicable;

        iii.    enjoin Defendants from withholding non-exempt public records under FOIA;

        iv.     award Plaintiffs attorneys’ fees and costs; and

        v.      award such other relief the Court considers appropriate.

Dated: February 20, 2024

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                                   RESPECTFULLY SUBMITTED,

                                   /s/ Matthew V. Topic

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